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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON                       )
BLOCKCHAIN, a Wyoming limited liability            )
Company,                                           )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 )      Civil No. 23-CV-79-ABJ
                                                   )
MINEONE WYOMING DATA CENTER,                       )
LLC, a Delaware limited liability company;         )
MINEONE PARTNERS LLC, a Delaware                   )
limited liability company; TERRA CRYPTO            )
INC., a Delaware corporation; BIT ORIGIN,          )
LTD, a Cayman Island Company;                      )
SONICHASH LLC, a Delaware limited                  )
liability company; BITMAIN                         )
TECHNOLOGIES HOLDING COMPANY,                      )
A Cayman Island Company; BITMAIN                   )
TECHNOLOGIES GEORGIA LIMITED,                      )
a Georgia corporation; and JOHN DOES 1-18,         )
related persons and companies who control          )
or direct some or all of the named Defendants,     )
                                                   )
        Defendants.                                )


       SECOND AMENDMENT TO PREJUDGMENT WRIT OF GARNISHMENT


        The First Amendment to Prejudgment Writ of Garnishment, issued and filed on July 15,

2024, is hereby amended as follows:

     1. The sum amount ordered attached is updated and revised from FIFTEEN MILLION

        THREE HUNDRED SEVEN THOUSAND FIVE HUNDRED THIRTY ONE

        DOLLARS AND SEVENTY TWO CENTS ($15,307,531.72) to FIFTEEN MILLION

        TWO HUNDRED FIFTY THOUSAND SEVEN HUNDRED FIFTEEN DOLLARS

        AND SIXTY SEVEN CENTS ($15,250,715.67), as further detailed by the Court’s July
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       2, 2024 Prejudgement Writ of Attachment, the Court’s July 15, 2024 First Amendment to

       Prejudgment Writ of Attachment, and the Court’s July 26, 2024 Second Amendment to

       Prejudgment Writ of Attachment.

       HEREBY ISSUED on this 26th day of July, 2024, at Cheyenne, Wyoming, on the order of

the Honorable Alan B. Johnson, United States District Court Judge for the District of Wyoming.



                                                          BY THE COURT:



                                                          ______________________

                                                          Alan B. Johnson
                                                          United States District Judge
